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                             IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   Chester County Sports Arena                                             No. 20-2021
                       v.
   The Cincinnati Specialty Underwriters
   Insurance Company;


   Milkboy Center City LLC,                                                No. 20-2036
   individually and on behalf of all others
   similarly situated,
                         v.
   The Cincinnati Insurance Company et al;


   Cornerstone Warrington, Inc. et al                                      No. 20-2398
                       v.
   The Cincinnati Insurance Company;


   Stone Soup, Inc.,                                                       No. 20-2614
   individually and on behalf of all others
   similarly situated,
                         v.
   The Cincinnati Insurance Company


                           ORDER RE: DEFENDANT’S MOTIONS TO DISMISS

Baylson, J.                                                                                            March 30, 2021

           For the reasons stated in the foregoing Memorandum, Defendant Cincinnati’s Motions to

Dismiss in the four above-captioned cases are hereby GRANTED with prejudice. The court

DENIES all Plaintiffs leave to amend. The clerk of court shall CLOSE the case.

                                                                                                        BY THE COURT:

                                                                                        s/ Michael M. Baylson
                                                                                                MICHAEL M. BAYLSON
                                                                                         United States District Court Judge
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